Case 5:24-cv-01316-KK-PVC         Document 35 Filed 01/23/25   Page 1 of 1 Page ID
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                              UNITED STATES DISTRICT COURT
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                         CENTRAL DISTRICT OF CALIFORNIA
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10                                                 Case No. EDCV 24-1316-KK-PVC
      Riverside Healthcare System, LP,
11                                   Petitioner,
12                           v.                    JUDGMENT
13
      Service Employees International Union,
14    Local 121 RN,
15                                   Respondent.

16
17
18         Pursuant to the Order granting Petitioner’s Motion to Confirm Arbitration

19   Award, dkt. 34, IT IS HEREBY ADJUDGED that Judgment is entered against

20   Respondent Service Employees International Union, Local 121 RN, in the amount of

21   $6,262,192.11. (JS-6)

22
23   Dated: January 23, 2025
24                                            HONORABLE KENLY KIYA KATO
                                              United States District Judge
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